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                       Attorneys for Defendant VELOCITY
                   7   TECHNOLOGY SOLUTIONS, INC.
                   8

                   9                                 UNITED STATES DISTRICT COURT

                  10                                EASTERN DISTRICT OF CALIFORNIA

                  11   GARRISON JONES,                                       Case No. 2:19-cv-02374-KJM-JDP

                  12                  Plaintiff,                             DEFENDANT’S NOTICE OF MOTION
                                                                             AND MOTION FOR SUMMARY
                  13          v.                                             JUDGMENT

                  14   VELOCITY TECHNOLOGY SOLUTIONS,                        [Filed Concurrently with Memorandum of Points
                       INC.; SHAUNA COLEMAN, individually                    and Authorities; Separate Statement of
                  15   and as H.R. Director of Velocity Technology           Undisputed Facts; Request for Judicial Notice;
                       Solutions; CHRIS HELLER, individually and             Declaration of Jennifer Colvin]
                  16   as General Counsel of Velocity Technology
                       Solutions; STEVEN KLOEBLEN,
                  17   individually and as CEO of Velocity                   DATE:     September 16, 2021
                       Technology Solutions; MICHAEL                         TIME:     10:00 AM
                  18   BALDWIN, individually and as an employee              LOCATION: Courtroom 9, 13th Floor
                       of Velocity Technology Solutions.                               501 I Street
                  19                                                                   Sacramento, CA 95814
                                      Defendants.
                  20
                                                                             Complaint Filed: November 25, 2019
                  21                                                         Trial Date:       None Set
                                                                             Magistrate Judge: Hon. Jeremy D. Peterson
                  22                                                         District Judge:   Hon. Kimberly J. Mueller

                  23

                  24   TO PLAINTIFF GARRISON JONES:

                  25          PLEASE TAKE NOTICE that on September 16, 2021 at 10:00 a.m., or as soon thereafter

                  26   as the matter may be heard in Courtroom 9 on the 13th floor of this Court, located at 501 I Street,

                  27   Sacramento, California, 95814, the Honorable Jeremy D. Petersen presiding, or by other remote

48032527_1.docx   28   means at the Court’s direction, Defendant Velocity Technology Solutions, Inc. (“Velocity”) will

                                                                            1                     Case No. 2:19-cv-02374-KJM-JDP
                                               DEFENDANT’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
                        Case 2:19-cv-02374-KJM-JDP Document 83 Filed 08/13/21 Page 2 of 2


                   1   and hereby does move for an order granting Defendant’s Motion for Summary Judgment pursuant
                   2   to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 260 of the Eastern District of
                   3   California.
                   4          This Motion is made on the grounds that Defendant is entitled to summary judgment as a
                   5   matter of law on Defendant’s Seventh Affirmative Defense: Release. Plaintiff Garrison Jones
                   6   (“Plaintiff”) previously released the claims at issue in this action and therefore summary judgment
                   7   must be granted.
                   8

                   9   DATED: August 13, 2021                         OGLETREE, DEAKINS, NASH,
                                                                      SMOAK & STEWART, P.C.
                  10

                  11
                                                                      By:    /s/ Anthony J. DeCristoforo
                  12                                                        Anthony J. DeCristoforo
                                                                            Paul M. Smith
                  13
                                                                            Attorneys for Defendant VELOCITY
                  14                                                        TECHNOLOGY SOLUTIONS, INC.

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                                                                            2                    Case No. 2:19-cv-02374-KJM-JDP
                                              DEFENDANT’S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
